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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Echo Global Logistics, Inc.
                                   Plaintiff,
v.                                                   Case No.: 1:18−cv−05458
                                                     Honorable Charles R. Norgle Sr.
Linq Transport, et al.
                                   Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, August 14, 2018:


        MINUTE entry before the Honorable Charles R. Norgle: Motion for a temporary
restraining order [6] is denied. Motion for leave to file excess pages [8] is granted. Motion
hearing held on 8/14/2018. Defendants' amended motion regarding jurisdiction is due on
or before August 21, 2018. Plaintiff's response is due on or before August 28, 2018.
Defendants' reply will be due on or before September 4,2018. A status hearing is set for
September 19, 2018 at 10:00 a.m. Mailed notice(ewf, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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